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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

 STEPHEN “COBEY” MONDEN,                      §
                                              §
        Plaintiff,                            §
                                              §
 v.                                           §       C.A. No.:
                                              §
 CONSOLIDATED NUCLEAR                         §
 SECURITY, LLC,                               §
                                              §
        Defendant.                            §
                                              §

                                         COMPLAINT

       Plaintiff Stephen “Cobey” Monden (“Monden” or “Plaintiff”) files this Complaint against

Defendant Consolidated Nuclear Security, LLC (“CNS” or “Defendant”). Plaintiff asserts causes

of action against Defendant under the National Defense Authorization Act of 2013, 41 U.S.C.

§ 4712, and under Texas common law negligent misrepresentation and fraud.

                                         THE PARTIES

       1.      Plaintiff Stephen Monden is an individual residing in Amarillo, Texas. He may be

contacted through his attorney of record, Eric J. Cassidy.

       2.      Defendant Consolidated Nuclear Security, LLC is a Delaware limited liability

corporation doing business in Tennessee. It can be served with process through its registered

agent, United Agent Group, Inc., 205 Powell Pl., Brentwood, Tennessee 37027-7522.

                                  JURISDICTION & VENUE

       3.      The Court has jurisdiction over the lawsuit under 28 U.S.C. § 1332(a)(1) because

plaintiff and defendant are citizens of different states and the amount in controversy exceeds

$75,000.00.
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       4.        The Court also has jurisdiction over the lawsuit because the suit arises under 41

U.S.C. § 4712.

                                   FACTUAL BACKGROUND

       A.        The Pantex Plant

       5.        In 2010, Plaintiff Cobey Monden started work at the Pantex Plant (“Pantex”) in

Amarillo, Texas. Since 1975, Pantex has been the nation’s primary assembly, disassembly,

retrofit, and life-extension center for nuclear weapons. The Pantex Plant is located on an 18,000-

acre site, which has approximately 650 buildings. There are approximately 3,300 full-time

personnel working at Pantex.

       6.        Pantex has several national security missions. Pantex is the nation’s primary site

for assembly and disassembly of nuclear weapons. Pantex builds and delivers nuclear weapons,

replacing parts and components to extend the lives of the weapons. The U.S. no longer tests

nuclear weapons; thus, Pantex plays a role in confirming the effectiveness of the weapons. Pantex

also completely dismantles retired weapons. Pantex’s work reduces the number of nuclear

weapons in the world and is designed to ensure that nuclear material is in safe and secure storage.

Pantex also develops, tests, and fabricates explosives components.

       B.        CNS’s Retaliation

       7.        Since 2015, the Pantex Plant has been managed by Defendant CNS. According to

CNS, at the end of 2018, it learned of “overtime anomalies” related to employee timekeeping at

the Pantex Plant. In January 2019, it began to compare employee time records entered into a

software program called OneTime with Argus badge reader records, which show the date and time

when a Pantex employee entered and exited secured areas in the Plant. Because Pantex is, on

information and belief, under the jurisdiction of the Department of Energy, the Inspector General

(“IG”) decided to interview CNS employees about potential timekeeper fraud at CNS.


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       8.      Monden and more than 50 other people who worked at Pantex were interviewed by

the IG. Monden interviewed with IG agents in July 2019 and provided information and evidence

to the agents. He disclosed facts to the IG that were specific to the IG’s investigation into

fraudulent timekeeping practices under the federal contract managed by CNS.

       9.      After Monden interviewed with IG agents, CNS fired him for alleged “fraudulent

timekeeping practices.”

       C.      Monden’s Background

       10.     After graduating from high school, Cobey Monden served in the United States

Army. He was honorably discharged due to a medical condition (keratoconus) in both of his eyes.

Despite this serious health issue, Monden graduated from Wayland Baptist University with a 3.6

GPA. He made the Dean’s List twice and President’s List (4.0 in a semester with at least 12 credit

hours), earning 56 credits from the fall of 2011 to the spring of 2013 while working full-time at

Pantex, raising three children, and actively participating in his church.

       11.     Monden started at Pantex as a janitor in 2010 while attending school. Over time,

he was promoted to Production Technician (PT) and later to the position of Production Section

Manager (PSM). As one of many PSMs, Monden was responsible for supervising PTs or the

employees who had “feet on the ground” in the Plant. PTs are trained to support federal

requirements to inspect, retrofit or disassemble nuclear weapons.

       12.     During his career at Pantex and working for CNS, Monden was never “written up”

or subjected to disciplinary action. He has never been fired by any other employer. Monden has

worked, schooled, and raised three children during his many eye surgeries, including corneal

transplants on both of his eyes. He has fought infection and transplant rejection on both eyes, had

cataracts in both eyes, and required cataract surgery. Despite these health issues, Monden received

a critical retention bonus every year that he was a PSM. Senior management was discussing with


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Monden a promotion to Production Manager in 2019 when he was wrongfully terminated after

interviewing with the IG.

       13.       After being fired by CNS, Monden worked at Eaton for five months and then was

laid off due to the downturn in the economy related to the pandemic. Eaton initially decided to

hire Monden back but told him that, because of his termination at Pantex and pending government

actions, he was ineligible to be rehired. Monden could not find work (possibly because of Pantex’s

defamation) and he received unemployment. He eventually accepted a job as a full-time substitute

teacher (non-certified) making less than what he received for unemployment. Monden believes in

working and wanted the opportunity to teach young people.

       D.        The Facts and Law Related to 41 U.S.C. § 4712

       14.       CNS’s wrongful termination of Monden for providing testimony and facts to the

IG about fraudulent timekeeping practices at CNS is a violation of 41 U.S.C. § 4712. The law is

plain that information disclosed by a person in response to questions in an IG investigation cannot

be a basis for terminating or changing an employee’s employment status. The statute reads in

relevant part:

                 (a)   Prohibition on Reprisals –

                 (1)   In General.—An employee of a contractor, subcontractor,
                       or grantee may not be discharged, demoted, or otherwise
                       discriminated against as a reprisal for disclosing to a
                       person or body described in paragraph (2) Information that
                       the employee reasonably believes is evidence of gross
                       mismanagement of a Federal contract or grant, a gross
                       waste of Federal Funds, an abuse of authority related to a
                       Federal contract or grant, a substantial and specific danger
                       to public health or safety, or a violation of law, rule, or
                       regulation related to a Federal contract …. [§ 4712(a)(1)
                       (emphasis added)]

The Code’s Rules of Construction state that, “an employee who initiates or provides evidence of

contractor, subcontractor, or grantee misconduct in any judicial or administrative proceeding


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relating to waste, fraud, or abuse on a Federal contract or grant shall be deemed to have

made a disclosure covered by such paragraph[.]” [§ 4712(a)(3)(A)].

       15.     Monden, and more broadly more than 50 other CNS employees, provided specific

evidence of fraud by CNS management and CNS’s abuse of its federal contract to investigators

from the IG. Monden’s disclosure of information to the IG specific to the IG’s civil and criminal

investigations into CNS’s billing practices under a federal contract establishes a prima facie case

for whistleblower protection under 41 U.S.C. § 4712. The elements for whistleblower protection

are:

               Element (1):

               (1)     An employee may not be discharged, demoted, or
                       otherwise discriminated against as a reprisal for
                       disclosing evidence to the Inspector General.

       16.     Monden and other CNS employees provided evidence to Special Agents with the

IG in interviews that occurred during the fall of 2019 and spring of 2020. CNS employees were

told by Special Agents that they were being interviewed as part of an investigation into alleged

fraudulent billing practices by CNS. At least one CNS employee was specifically told “that

everything I said to them [the IG agents] was protected under the Whistleblower Act.”

       17.     The first group of employees who were retaliated against—approximately 14

individuals—were at work on the morning of August 14, 2019, when they were summoned without

notice by CNS to interviews with IG Special Agents, including Agents Louis Gomez, Joseph

Davila and Christina McCurdell.

       18.     These employees provided evidence in the form of testimony about facts specific

to alleged fraudulent billing practices instituted by CNS management. The employees were told

by the IG agents that they could not be fired by Pantex or CNS for talking to the IG and that nothing

they told the IG would be shared with CNS.


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       19.     Immediately after their interviews, the employees were subjected to reprisal by

CNS. An employee was told by CNS that he was being placed on paid leave immediately

following his interview on August 14, 2019. Indeed, at least six employees were taken into a room

where they were informed that they were being placed on administrative leave for 30 days pending

the ongoing IG investigation.

       20.     At least fifteen employees were fired by CNS after they interviewed with the IG,

including Monden. Another 20 were placed on administrative leave without pay by CNS, and still

others were placed on paid administrative leave. CNS told these employees that they were required

to disclose everything that they had told the IG. One of the employees was fired in October 2019,

after 37 years of employment. Another employee was forced to retire after he told CNS what he

disclosed to IG agents. The IG told one employee during his interview that he was “cleared,” and

the IG called CNS’s Human Resources Department to inform them that day that no action would

be taken against that individual. But, despite the fact that CNS was told the individual was

“cleared,” CNS’s Human Resources Department told the employee that CNS would conduct its

own investigation and suspended him with pay immediately and, later, without pay starting on

November 1, 2019.

       21.     Monden and other employees were retaliated against by CNS for providing

information to the IG as part of an IG investigation. CNS told employees that they were being

placed on unpaid leave “because [they] interviewed as part of the IG investigation and it was

company policy to place people involved in the investigation on unpaid leave.” The employees

were told they were being placed on leave or fired because they talked to the IG about allegations

of fraud at CNS:

               §      “I was informed [by CNS] that anyone interviewed by the IG would be
                      placed on 30 days administrative leave.”



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              §       “[CNS personal] walked me down the hall and took my badges and told me
                      I was on admin leave pending investigation by the IG and that since I had
                      talked to the IG I was on an automatic 30 days with paid admin leave ….
                      During my [CNS] interview, [CNS] insinuated that my job was at risk
                      because the IG wanted to talk with me and I was being investigated.”

              §       “CNS personnel told me it was their practice to put me on leave since the
                      IG investigated me.”

              §       “CNS placed me on leave the same day I was interviewed by the IG … CNS
                      said it was part of their investigation [to place me on leave].”

              §       “I was walked out because I spoke with the IG. [CNS] said it was standard
                      procedure …. But in my interview [with CNS], we never discussed anything
                      about my time!”

       22.    CNS’s reprisals against employees who talked to the IG also took the form of

publicly humiliating the employees who interviewed with the IG on August 14, 2019:

              §       “Immediately after my interview with the IG [on August 14, 2019], I was
                      taken by van with security guards to a small room & placed on admin leave
                      with no explanation. I felt like a criminal. They paraded us in front of our
                      peers with armed security guards. It was humiliating. Then they escorted
                      us to our cars to leave the plant.”

              §       “After I was interviewed by the OIG, I was interviewed by CNS about my
                      interview with [IG]. The minute my interview with CNS ended, armed
                      guards took my security badge and escorted me to a waiting van, where I
                      was made to stay for 2.5 hours. Eventually I and five others were taken into
                      a room where we were informed that we were being placed on
                      administrative leave for 30 days.”

              §       “Guards then took us to change into our street clothes, and then we were
                      each escorted to our vehicles to leave. Word about all this got around town,
                      and everyone is talking about us like we are criminals.”

              §       “After interviewing with the IG, CNS had the security force take my badge
                      and the guards put me in a bus and took me to talk to HR, then HR put me
                      on paid admin leave. The guards took me into the plant to change like I was
                      a criminal, then they escorted me off the site. This happened around quitting
                      time so other workers got to see me being escorted around. I was fired on
                      October 18, 2019[.]”

       23.    In addition, certain employees who were interviewed after August 14, 2019 were

subjected to public humiliation immediately before they were interviewed by agents for the IG:



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               §       “Before my interview with the IG, we were told to wait in a room together
                       in one of the cafeterias for someone to come and get us. We were then
                       loaded into vans and taken under armed guard to our administrative
                       building, where we were marched in front of large windows along the side
                       of the building, like were being put on display for others to see. We were
                       then held in a room awaiting our interview with the IG for hours. After the
                       interview, we were taken to meet with Heather Freeman (also under armed
                       guard) and were immediately placed on administrative leave with pay
                       [changed to unpaid leave on Nov. 1, 2019] …. [we] were paraded through
                       the plant in a single file convoy by armed guards ….”

CNS discharged, demoted, or otherwise humiliated and discriminated against employees who

talked to the IG as part of the IG’s investigation.

               Element (2):

               (2)     Information that the employee reasonably believes is
                       evidence of gross mismanagement, gross waste of
                       Federal Funds, an abuse of authority, or violation of law,
                       rule, or regulation related to a Federal contract.

       24.     Monden and other employees provided to IG Special Agents evidence of gross

mismanagement, abuse of authority, and violations of law related to CNS’s federal contract. This

evidence included testimony relating to CNS’s fraudulent timekeeping practices, which occurred

under CNS’s federal contract to manage and operate the Pantex Plant. The testimony collected by

the IG in its interviews with Monden and CNS employees has been used by the Department of

Justice to pursue civil and criminal claims against CNS employees. Monden and CNS employees

provided testimony detailing CNS management’s practices that created the “culture” in question.

Monden and others truthfully answered numerous questions about management’s billing practices,

and their own timekeeping, and other employees’ timekeeping practices. Monden and other

employees identified to the IG members of CNS’s management who created the culture and

instructed employees to enter time in a manner contrary to government requirements.

       25.     Later, CNS learned the questions that those employees were asked by the IG by

threatening the employees with termination if they did not disclose what they told the IG. These


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threats by CNS occurred in interviews that CNS conducted with employees after the employees

were interviewed by the IG. CNS interviewers told one employee to tell them “everything I had

told Mr. Gomez (an IG agent) during my interview with him.” This employee was told that he

would be fired unless he told CNS what he said to the IG. CNS’s threats of retaliation were

common:

              §       “CNS interviewed me a week after the IG interview. They said I had to tell
                      them what I discussed with the IG.”

              §       “It was a condition of employment to answer [CNS’s] questions” about
                      what employees disclosed to the IG.

              §       “[CNS] wanted to know exactly what I told the IG.”

              §       “CNS told me I had to tell them what I discussed with the IG, that I would
                      be fired unless I told them[.]”

              §       “[CNS] asked about the topics the IG had asked about.”

              §       “CNS told me I was put on paid leave because of the IG investigation
                      [changed to unpaid leave on Nov. 1, 2019].”

              §       “[CNS] asked me about the same topics the IG asked me about. I was
                      treated like a criminal and a liar, and was then fired.”

              §       “[CNS] wanted to know everything I told the OIG. I received a letter
                      [approximately a month later] telling me that I had been terminated.”

              §       “I told [CNS] that I was not permitted to discuss the particulars of my IG
                      interview. They told me that under the terms of my CNS contract, I was
                      required to cooperate with them, or I could be terminated.”

Because the employees were threatened and told that they would be fired if they did not divulge

what they told the IG, at least one employee told CNS “everything I said and the questions that I

was asked.” CNS then used this information, and in particular the list of questions asked by the

IG, to interrogate more than 70 additional CNS employees. Indeed, employees have reported that

CNS asked them “the same questions” that they were asked by agents in the IG interviews.




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       E.      CNS’s Likely Defenses Do Not Address Plaintiff’s Statutory Claim and Lack
               Factual Merit

               1.     CNS has left unanswered the fundamental questions about its
                      mismanagement of the Pantex Plant.

       26.     Before CNS is allowed to scapegoat employees and deflect responsibility for

known problems in its management and operation of the Pantex Plant, it should be required to

answer fundamental questions:

               §      Why was there so much confusion surrounding timekeeping at Pantex?
                      Why was the issue not addressed by CNS in the fall of 2018 when CNS
                      alleges that it discovered timekeeping “anomalies”?

               §      Why didn’t CNS incorporate time clocks or provide PSMs access to Argus
                      records to verify time for their employees when it learned of time
                      “anomalies” in the fall of 2018?

               §      How could CNS expect PSMs to verify time on a Monday morning for
                      employees who worked over the weekend when the weekend supervisor
                      was off at that time?

               §      Why did CNS fail to take action when provided notice of timekeeping
                      issues?

               §      Since there are so many questions and concerns, why didn’t CNS revise,
                      clarify or update its training to better assist PSMs and PTs in meeting
                      timekeeping requirements?

               2.     The methodology of comparing Argus to OneTime is flawed and proves
                      nothing.

       27.     CNS is likely to contend that Monden was fired because of alleged “anomalies” in

his timekeeping records. But such arguments are irrelevant to its liability under 41 U.S.C. § 4712.

Under the statute, an employee cannot be discriminated or reprised against for providing evidence

of gross mismanagement or violation of the law or rules related to a federal contract. Monden is

a whistleblower under the statute. He is therefore protected from reprisal because he provided

evidence to assist the government’s investigation into CNS.




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       28.     Even if that were not the case, CNS’s claims relating to Monden and other

employees lack merit. CNS has alleged in other venues that other employees have allegedly

committed timekeeping fraud. According to CNS, records from the Plant’s Argus system, which

identifies the time an employee works in a secured area, often has not matched the entries made

by employees into CNS’s OneTime timekeeping system. The OneTime system records the amount

of time an employee worked at the Plant as a whole on a particular day, and not just the time that

he or she spent in an Argus secured area. The comparison of Argus records to OneTime

timekeeping entries proves nothing. Argus is intended to track the time an employee is working

in a secured area inside the Plant in the event of a security breach. OneTime is an “honor system”

timekeeping software that employees use to enter their daily time at the Plant – which includes

time worked outside of the secured area and therefore is time that is not accounted for by Argus.

There is no direct correlation between the two systems.

       29.     The noncongruence between Argus and OneTime was known by CNS. The Argus

security system and the OneTime timekeeping system are not the same. Employees commonly

worked outside the secured areas while working at Pantex. Indeed, there are approximately 650

buildings on the 18,000-acre site, many of which are not secured or monitored by Argus. An

employee’s time entry for work performed outside the secured area was reviewed and approved

not just by Monden or other PSMs, but also by CNS management, accounting and its payroll

department.

               3.     CNS cannot rule out alternative explanations for discrepancies between
                      timekeeping records and Argus records.

       30.     Monden routinely worked outside of the secured area in the Plant, including time

at the Guard Station, the cafeteria, in training areas, the administration building, monitoring

employees in the parking lot, conferring with employees and professionals in medical and fire



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prevention, and conferring with janitorial services. He was a supervisor and therefore was

responsible for covering a large range of areas in the Plant that were outside Argus secured areas.

Given the complexity of Monden’s job as a PSM or supervisor, it is highly likely that he would

actually work outside the secured areas and Argus security system.

       31.     On information and belief, CNS is concealing facts that show CNS management

knew about flaws in the OneTime system and did nothing. On May 5, 2020, the previous Senior

Director of Nuclear Weapons Operations, David Cole, wrote to Todd Ailes, Vice President and

Pantex Site Manager, and Morgan Smith, CNS President and CEO. Cole wrote in part that the

timekeeping system was flawed because there were no time clocks, not enough supervisors to

accurately approve employee time, and the union contract diminished a PSM or supervisor’s

ability to discipline employees committing time fraud. Cole stated that CNS had a lack of

accountability and implied a lack of institutional control. He outlined known deficiencies in the

organization’s timekeeping design and reporting structures. But, despite Cole’s notice of these

timekeeping defects, CNS took no action.

       32.     Indeed, CNS failed to provide Monden and other PSMs with any means to actually

verify time (no time clocks installed and no access to Argus records). PSMs placed CNS’s

management on notice about timekeeping issues for years. Monden and other PSMs asked CNS

to install a time verification system (TimeClock) to verify time entries. CNS denied these requests.

       33.     CNS also failed to update policies, procedures, forms, systems and controls to

create consistency and accountability in the timekeeping system. This was a failure by CNS, which

knew of these issues but refused to install time verification systems. On information and belief, a

Kronos Time and Attendance system is now being installed by CNS at multiple areas around the

Plant—years after CNS was put on notice of time “anomalies.”




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       34.     Finally, CNS management is responsible for implementing the system or course of

business dealing that Defendant has attempted to scapegoat plaintiff for—namely, CNS

management attempting to incentivize PTs and employees to meet production goals by allowing

them to leave work early on days when a goal was met but be paid for a full day. CNS management

directly instructed Monden to follow this course of business on at least two occasions. On

information and belief, CNS has taken no action against its management for directing Monden and

other PSMs to comply with this course of dealing.

                                      CAUSES OF ACTION

                                           COUNT ONE:

        Violation of the National Defense Authorization Act of 2013, 41 U.S.C. § 4712

       35.     Paragraphs 1 through 34 are incorporated by reference.

       36.     Monden was wrongfully fired by CNS as a reprisal for disclosing to the IG

information that he reasonably believed was evidence of gross mismanagement by CNS of its

federal contract related to Pantex. Monden further provided information to the IG about CNS’s

abuse of authority related to its federal contract, and violations of law, rules and regulations related

to CNS’s federal contract. § 4712(a)(1).

                                           COUNT TWO:

                           Implicit Fraud Under Texas Common Law

       37.     Paragraphs 1 through 36 are incorporated by reference.

       38.     CNS committed implicit fraud. CNS concealed the fact that CNS management

instituted a course of dealing with Monden and other Plant employees in which employees were

given production goals and allowed to bill for a full day’s work on the day those production goals

were met. CNS omitted this fact from government officials and scapegoated Monden in an effort

to procure and renew its government contract to operate Pantex. CNS further committed implicit


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fraud by concealing the material facts related to the underlying reasons for timekeeping anomalies

at the Plant. As a direct and proximate result of CNS’s fraud and deceit, Monden has been

damaged in an amount to be proved at trial.

                                          COUNT THREE:

                                      Negligent Misrepresentation

        39.     Paragraphs 1 through 38 are incorporated by reference.

        40.     Defendant made representations to Plaintiff in the course of CNS’s business,

specifically that he was required to approve a full day’s work for PTs or employees when a

production goal was met even if they left early that day. CNS did not use reasonable care in

obtaining or communicating the timekeeping information. Plaintiff justifiably relied upon CNS’s

representations. CNS’s negligent misrepresentations proximately caused injury to Monden.

                                           JURY DEMAND

        41.     Plaintiff demands that this Court empanel a lawful jury to hear this case and decide

this matter on the merits at trial.

                                              PRAYER

        42.     Plaintiff Stephen “Cobey” Monden prays that Consolidated Nuclear Security, LLC

be cited to appear and answer, and that upon final hearing Plaintiff have and recover from CNS as

follows:

        a.      Actual damages within the jurisdictional limits of the Court;

        b.      Back pay and front pay within the jurisdictional limits of the Court;

        c.      Compensation for loss of employee benefits, including but not limited to medical,
                dental, life, 401(k), pension and retirement benefits;

        d.      Reinstatement of his employment and position at Pantex;

        e.      Compensatory damages for past and future pecuniary losses, emotional pain,
                suffering and inconvenience;



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    f.     Exemplary or punitive damages;

    g.     Pre- and post-judgment interest at the highest rates allowed by law;

    h.     All reasonable and necessary attorney fees under statutory and common law;

    i.     All costs of court; and

    j.     Such other and further relief, at law or in equity, to which Plaintiff is justly entitled.

    January 11, 2022.
                                            Respectfully submitted,

                                            CURTIS, MALLET-PREVOST, COLT & MOSLE LLP

                                            /s/ Eric J. Cassidy
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